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,/’
IN THE UNITED STATES DISTRICT COURT nmu “
FOR THE WESTERN DISTRICT OF TENNESSEE ma --~£*
WESTERN DIVISION

 

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UNITED STATES OF AMERICA, HDWBMIWUD
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Piaim;iff, W OFTN.TLTEICM
vS. NO. 05-20010-B

ALBERT KIN LEE,

Defendant.

 

ORDER AMENDING RELEASE CONDITIONS

 

Upon motion of the defendant, consent of Pretrial Services,
acquiescence of the United States, and for good cause shown, it is
hereby:

ORDERED, ADJUDGED AND DECREED that Albert Kin Lee shall remain
on electronically monitored house arrest, but, in addition to the
previously authorized reasons for leaving the house,r be allowed to
leave his residence for the purpose of seeking and maintaining
employment.

Em-,ered this 33 day cf , 2005.

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. ANIEL BREEN, \
Uni ed States District Judge

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
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Dan NeWsom

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Honorable J. Breen
US DISTRICT COURT

